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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

   UNITED STATES OF AMERICA,                   )
                                               )
                                               )
   v.                                          )
                                               ) Docket nos. 04-cr-112-P-S &
   DUNG VU,                                    )             04-cr-136-P-S
                                               )
                                               )
                         Defendant.            )
                                               )


            ORDER DENYING REQUEST FOR SENTENCE REDUCTION


          Before the Court is Defendant’s pro se Motion for an Order Granting a Sentence

   Reduction (Docket # 93 in 04-cr-112 & Docket # 477 in 04-cr-136). Via this Motion, the

   Defendant requests that the Court reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2)

   and the recent amendments to the Sentencing Guidelines related to crack cocaine. See

   USSG § 1B1.10. After reviewing the file, the Court has determined that this Defendant

   was sentenced to 120 months because that is the mandatory minimum sentence required

   by 21 U.S.C. § 841(b)(1)(A). Because a ten year term of imprisonment is required by

   statute, the Court may not reduce this sentence even if the amended Guidelines would

   yield a lower Guideline range.

          For this reason, the Court hereby DENIES Defendant’s Motion.

          SO ORDERED.

                                                      /s/ George Z. Singal
                                                      Chief U.S. District Judge

   Dated this 2nd day of January, 2008.
